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From:          Martinez, Adam (CFPB)
To:            Gueye, Jafnar (CFPB); Chilbert, Christopher (CFPB)
Cc:            Licata, Anthony; Shapiro, Daniel
Subject:       Contracts/Data
Date:          Tuesday, February 18, 2025 6:47:00 PM


Hi Jafnar and Chris –

I spoke with Mark P. a few minutes ago regarding our contracts that support
statutorily required work. I let him know that Jafnar has the master list with all
contracts, the status of each (work hold vs. terminated), and a description regarding
their support of statutory/regulatory mandates. Could you work together to pull the
master spreadsheet and ensure that the notes are clear regarding which contracts
support statutorily required functions and data?

Mark P. said that you may connect with Tony (copied) regarding this ask or have any
questions. I’ve also copied Dan in case I missed anything.

Thank you both.

Adam

Adam Martinez
Chief Operating Officer




                                                                                          CFPB_00117
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From:            Paoletta, Mark (CFPB)
To:              Martinez, Adam (CFPB); Gueye, Jafnar (CFPB)
Cc:              Shapiro, Daniel (CFPB)
Subject:         Contracts
Date:            Wednesday, February 19, 2025 11:10:12 AM


To follow up on my conversation with Adam just now, I am directing you to not terminate or
suspend any contracts without specific authorization from Acting Director Vought or me. Please let
me know if you have any questions.
Thanks.

Mark Paoletta
Chief Legal Officer
CFPB




                                                                                      CFPB_00118
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From:              Gueye, Jafnar (CFPB)
To:                Paoletta, Mark (CFPB); Licata, Anthony; Martinez, Adam (CFPB); Chilbert, Christopher (CFPB)
Subject:           RE: Rescinding/Reinstating Termination-Noticed Contracts
Date:              Thursday, February 20, 2025 10:15:29 AM


Quick follow up:

We’ve sent continuance notices to all vendors on that list. We’re waiting for confirmation. Anthony in the
master spreadsheet we’re adding updates once the vendor confirms. I’ll update you all if we run into any
issue.

Respectfully,

Jafnar

From: Paoletta, Mark (CFPB)                            >
Sent: Wednesday, February 19, 2025 7:19 PM
To: Licata, Anthony                            >; Martinez, Adam (CFPB)
<                          >; Gueye, Jafnar (CFPB) <                                               >; Chilbert,
Christopher (CFPB) <                               >
Subject: Re: Rescinding/Reinstating Termination-Noticed Contracts

Yes, please rescind these termination notices. I do not believe they have gone into effect and want
to make sure there is no interruption. Thanks

From: Licata, Anthony <                            >
Sent: Wednesday, February 19, 2025 7:08:15 PM
To: Martinez, Adam (CFPB) <                             >; Gueye, Jafnar (CFPB)
<                          >; Chilbert, Christopher (CFPB) <                                                      >
Cc: Paoletta, Mark (CFPB) <                           >
Subject: Rescinding/Reinstating Termination-Noticed Contracts

Hi all,

Mark Paoletta directs that the termination notifications issued for the contracts itemized in the
attached spreadsheet be rescinded/withdrawn and, if any have already been so terminated, that
such contracts be reinstated.

Thank you in advance.

Best,
Anthony

Anthony Licata
Attorney Advisor to the Chief Legal Officer




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                                                               CFPB_00120
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From: Wick, Jordon (CFPB) <                      >
Sent: Thursday, February 20, 2025 7:04 PM
To: Vought, Russell (CFPB) <                       >; Paoletta, Mark (CFPB)
<                         >
Cc: Lewin, Jeremy <                       >; Young, Christopher (CFPB)
                               >
Subject: More contracts to cut

Hi all,

Please see attached for the next tranche of contracts for which we recommend immediate
termination– they’re composed of the following:

          Consumer Credit Information Surveys and Panels, which will no longer be used
          Various support services (user research and testing, financial mgmt., internal controls,
          and identity access software), all of which we can do without

These contracts represent $8.4M in obligated value. @Vought, Russell (CFPB), let us know if
you approve cancelling these and then the rest of the team will proceed.

Best,
Jordan




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                                                               CFPB_00123
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                                                    March 6, 2025
VIA EMAIL

Sonya White
Deputy General Counsel
Legal Division
Consumer Financial Protection Bureau
1700 G St. NW
Washington, DC 20552

         RE:    NTEU Institutional Grievance – CFPB’s Mass Firing of Probationary and
                Trial Employees in Violation of Contract and Law

Dear Ms. White:

        In accordance with Article 43, Section 6, of the parties’ 2024 Collective Bargaining
Agreement, the National Treasury Employees Union (NTEU) files this institutional grievance
against the Consumer Financial Protection Bureau (CFPB). On February 11, 2025, the CFPB
fired every probationary employee working for the Bureau, with no advance notice to the Union
or to employees. On February 13, 2025, the CFPB fired all its employees on a trial period, with
no advance notice to the Union or to employees. Both actions were a direct response to the
Guidance on Probationary Periods, Administrative Leave and Details issued by the Office of
Personnel Management (OPM) on January 20, 2025, and Executive Order 14,210, Implementing
the President’s “Department of Government Efficiency” Workforce Optimization Initiative
issued on February 11, 2025. No matter the instigating event, the Bureau’s mass firing of
probationary and trial employees was done to effectuate the administration’s effort to reduce and
reorganize the CFPB workforce.

        The CFPB’s actions violate Articles 41 and 46 of the NTEU-CFPB collective bargaining
agreement; the Federal Service Labor-Management Relations Statute (Statute), at 5 U.S.C. §
7114(a)(1), 5 U.S.C. § 7116(a)(1), (5), (7), & (8), and any other Article, Section, law, rule or
regulation that may apply. Because the violations NTEU alleges are ongoing each day, this
grievance and any requested remedies are continuing in nature.

   I.         Background

         A.     OPM Directive on Probationary Employees

       Mere hours after he was named OPM’s Acting Director, Charles Ezell issued a three-
page document titled, Guidance on Probationary Periods, Administrative Leave and Details, to
the heads and acting heads of every department and agency in the Executive Branch including
CFPB. That document stated: “Probationary periods are an essential tool for agencies to assess


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employee performance and manage staffing levels.” (Emphasis added.) It directed agencies to
identify “all employees on probationary periods” and to “promptly determine whether those
employees should be retained at the agency.” The document concludes with suggested
“flexibilities [available] to agencies during the [presidential] transition period and as agencies
undertake reorganization efforts and close offices.” (Emphasis added.)

         Approximately two weeks later, the President issued Executive Order 14,210,
Implementing the President’s “Department of Government Efficiency” Workforce Optimization
Initiative, with the purpose of “commenc[ing] a critical transformation of the Federal
bureaucracy.” (Emphasis added.) As part of that effort, the Order directed that “Agency Heads
shall promptly undertake preparations to initiate large-scale reductions in force (RIFs)”.
(Emphasis added.)

       When an agency seeks to eliminate employees because of an organizational
reorganization, it must follow the reduction-in-force (RIF) procedures in 5 U.S.C. Part 3501-04
and OPM’s implementing regulations at 5 C.F.R. Part 315. OPM-promulgated RIF regulations
apply to competitive and excepted service employees, and probationary employees are expressly
included in those regulations. OPM is responsible for issuing guidance for agencies on RIF
procedures. See Workforce Reshaping Operations Handbook (March 2017).

       B.       CFPB’s Failure to Follow RIF Procedures

        CFPB’s mass firing of probationary and trial employees was a reduction-in-force, aimed
at reducing the Bureau’s workforce and reorganizing its functions. CFPB failed to follow the
requisite RIF procedures provided by the parties’ collective bargaining agreement, regulation and
law, including but not limited to:

       •    Before any agency begins a RIF, agencies must establish “competitive areas in which
            employees compete for retention.” 5 C.F.R. § 351.402(a).

       •    Each agency must establish competitive levels consisting of all positions in a
            competitive area with similar grade, pay and duties, for potential reassignment of any
            affected employee. 5 C.F.R. § 351.403.

       •    RIF regulations require agencies to classify competing employees on a retention
            register on the basis of their tenure of employment, veteran preference, length of
            service, and performance in several different tenure groups. 5 C.F.R. § 351.501(a).

       •    An agency must give an employee at least 60 days specific written notice before the
            employee is released from the competitive level by a RIF action, unless “caused by
            circumstances not reasonably foreseeable”. 5 C.F.R. § 351.801.




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         •   The notice must include the reasons for the taken action, the employee’s competitive
             area and level, and where the employee can find information about applicable
             regulations and appeal rights. 5 C.F.R. § 351.802.

   II.       The CFPB’s mass firing of probationary and trial employees violates Articles 41
             and 46 of the parties’ collective bargaining agreement.

             A. Article 46: Midterm Bargaining

        Article 46, Section 2 states that CFPB “shall provide the Union with reasonable advance
notice of intended changes in personnel policies or practices or conditions of employment.”
CFPB failed to provide notice to NTEU of its planned reduction-in-force, as required by the
agreement. Article 46, Section 3 provides for bargaining over “the implementation or impact on
employees of the [Bureau’s] proposed change(s)”. CFPB management was required to honor its
collective bargaining obligations by providing notice and an opportunity to bargain over the
separation of almost 100 CFPB employees.

             B. Article 41: Reduction in Force

        Article 41 of the parties’ collective bargaining agreement states that CFPB “will use RIF
only as a last resort, when efforts to avoid it [ ] are not successful.” Art. 41, Sec. 1. The CFPB
RIF provision “applies to any RIF conducted by [CFPB] during the term of [the parties’]
Agreement.” Art. 41, Sec. 2.

        Article 41, Section 2 requires that CFPB “provide National NTEU with a written notice
at the earliest practicable date but not later than 90 calendar days prior to the planned effective
date, unless the circumstances leave the [Bureau] no choice but to give less notice.” CFPB did
not provide any notice to the Union, let alone advanced notice, of the planned RIF. Because no
notice was provided, CFPB is precluded from arguing that there were unforeseen circumstances
that prevented it from timely notifying the Union. And, even if those circumstances existed, the
Bureau was still required to provide notice.

        Article 41, Section 5 states that CFPB “shall provide the Union with advance courtesy
notice and the opportunity for feedback prior to the establishment of competitive areas.” CFPB
did not establish competitive areas prior to the termination of all probationary and term
employees. By extension, the Union was not given courtesy notice or opportunity to provide
feedback.

        Article 41, Section 6 states that CFPB “shall establish competitive levels” and that the
Union “will be notified of the competitive levels once they have been finalized”. CFPB did not
establish competitive areas prior to the termination of all probationary and term employees. By
extension, the Union was not notified of those levels.




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        Article 41, Section 7 requires that CFPB “shall establish a separate retention register for
[each] competitive level” and the “Union will be provided a copy of any retention registers at the
time they are finalized.” CFPB did not establish retention registers prior to the termination of all
probationary and term employees. By extension, the Union was not notified of those retention
registers.

        Article 41, Section 8 sets forth specific instructions on how to use performance ratings
for purposes of RIF retention register. Those instructions align with 5 C.F.R. § 351.504. CFPB
did not establish retention registers prior to the termination of all probationary and term
employees. By extension, the Bureau did not assess individual employees’ service credit for
performance.

        Article 41, Sections 9 & 10 address employee rights if reassigned or involuntarily placed
due to a RIF. CFPB did not offer any employee reassignment or seek to move an employee to
another position.

        Article 41, Section 11 requires that, before separating an employee because of a RIF,
CFPB “ensure the [affected] employee is advised of the provisions of the Employer’s Career
Transition Assistance Plan.” CFPB did not do so.

        Article 41, Section 12 requires – consistent with OPM regulation – that CFPB “issue
specific RIF notices to employees affected by a reduction in force at least 60 days before the
effective date of the RIF.” Probationary and trial employees were given mere days, if not hours,
prior to termination in violation of this provision and law.

      Article 41, Section 13 sets forth the specific information to be included in a RIF notice to
employees. CFPB failed to include the information described in Section 13.1 to 13.8.

        Because CFPB failed to follow the required contractual process for conducting its RIF of
probationary and trial employees, it has violated Article 41 of the parties’ collective bargaining
agreement. As part of its failure to bargain with NTEU over the RIF, it has also violated Article
46 of the agreement.


   III.    The CFPB committed unfair labor practices when it fired every probationary
           and trial employee.

        The CFPB’s failure to bargain with the Union is an unfair labor practice under 5 U.S.C. §
7116(a)(1), (5) and (8). Further, all the above contractual violations constitute patent breaches
and repudiations of the parties’ 2024 collective bargaining agreement, in violation of 5 U.S.C. §
7114(a)(1), which is an unfair labor practice under 5 U.S.C. § 7116(a)(1), (5) and (8). Finally, to
the extent that DOE argues that any of its actions were permitted pursuant to an executive order
or other presidential declaration, those actions are an unfair labor practice under 5 U.S.C. §




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7116(a)(7), which states that it is an unfair labor practice to enforce rules or regulations that
conflict with any preexisting applicable collective bargaining agreement.

   IV.        CFPB’s mass firing of employees violates the Separation of Powers Doctrine.

        The CFPB’s mass firing of probationary and trial employees violates the United States
Constitution, specifically, the Separation of Powers doctrine that recognizes the division of
legislative powers afforded to Congress, U.S. Const., art. I., and executive powers vested in the
President, U.S. Const., art. II. The CFPB’s actions circumvent Congress’s Article I legislative
authority to create CFPB, dictate the Bureau’s purpose and provide the requisite funding to carry
out the Bureau’s purpose and duties.

        Congress can create or destroy executive branch agencies and dictate their missions. “To
Congress under its legislative power is given the establishment of offices . . . [and] the
determination of their functions and jurisdiction.” Myers v. United States, 272 U.S. 52, 129
(1926). Accord Buckley v. Valeo, 424 U.S. 1, 138 (1976) (discussing Congress’s ability to create
or remove federal agencies through the Necessary & Proper Clause). Congress thus “control[s]”
the very “existence of executive offices.” Free Enter. Fund v. Pub. Co. Accounting Oversight
Bd., 561 U.S. 477, 500 (2010).

         Congress has the power to fund or defund executive branch agencies—and, in exercising
that power, determines whether and how agencies may function. The Antideficiency Act, 31
U.S.C. § 1341, which generally prohibits the executive branch from incurring obligations that
Congress has not authorized, and the Impoundment Control Act, 2 U.S.C. §§ 681-688, which
prevents the Executive from refusing to postpone or withhold the use of appropriated funds,
illustrate this. Thus, while the President is responsible for the enforcement of federal laws,
Congress alone has the power of the purse with which to fund or defund agencies and their
activities.

      Because it undermines Congress’s ability to set and fund the missions of CFPB, the
Bureau’s mass firing of probationary and trial employees impermissibly encroaches on
Congress’s legislative authority, thereby violating Constitutional separation of powers principles.

Requested Remedies

         To remedy the foregoing violations, NTEU requests that CFPB:

         1)      Cease and desist from further violations of the parties’ 2024 collective bargaining
                 agreement, the Statute, and the U.S. Constitution;

         2)      Restore the parties and bargaining unit employees to the status quo ante, by
                 returning any adversely affected bargaining unit employee back to the position
                 they occupied prior to termination;




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         3)     Post a notice physically in the workplace and transmit it via electronic mail,
                drafted by NTEU and signed by the head of the CFPB, to all bargaining unit
                employees in which the Acting Director admits that the Bureau has violated the
                Statute by unilaterally changing conditions of employment and repudiating the
                collectively bargained agreement between NTEU and CFPB;

         4)     Provide make whole relief to every adversely affected bargaining unit employee,
                including back pay, where applicable, under the Back Pay Act; and

         5)     Grant NTEU all other appropriate remedies to which it is entitled under the law

      NTEU’s representative in this matter will be Assistant Counsel Cynthia Woerner. Ms.
Woerner can be reached at (202) 670-0641or via email at Cynthia.Woerner@nteu.org.

                                                     Sincerely,




                                                     Doreen P. Greenwald
                                                     National President

   cc:          Peyton Diotalevi, National Counsel, NTEU
                Cynthia Woerner, Assistant Counsel, NTEU




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